 Case 2:07-cr-00248-WBS-DB Document 238 Filed 04/25/08 Page 1 of 4


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Attorney for Defendant, OSCAR CAMPOS-PADILLA




                         UNITED STATES DISTRICT COURT

        EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION



UNITED STATES OF AMERICA,                ) No. Cr.S-07-248-WBS
                                         )
                    Plaintiff,           ) STIPULATION AND ORDER
                                         ) TO CONTINUE
             vs.                         )
                                         )
OSCAR CAMPOS PADILLA,                    ) Date: April 28, 2008
                                         ) Time: 10:30 AM
                    Defendant.           ) Judge: WILLIAM B. SHUBB
                                         )


      IT IS HEREBY STIPULATED by and between counsel that there exists good cause

to continue the matter of OSCAR CAMPOS-PADILLA from April 28, 2008 at 10:30 a.m.

to June 30, 2008 at 10:30 a.m. This continuance is requested due to the need for effective

preparation and continuity of counsel.




                                             -1-
                             Stipulation and Order to Continue
 Case 2:07-cr-00248-WBS-DB Document 238 Filed 04/25/08 Page 2 of 4


       A group of co-defendant’s are seeking an early trial date in this matter. Mr. Padilla is

on calendar on April 28, 2008 at 10:30 a.m. to state his position regarding an early trial

date. Mr. Padilla does not seek an early trial date. Mr. Padilla has planned to remain part of

the larger group. That group has been coordinating discovery and motions and that process

is far from being completed. Accordingly, Mr. Padilla through no fault of anyone, has not

had an opportunity to receive full discovery or litigate necessary motions.

       In light of these facts, the parties agree that the time between April 28, 2008 and

June 30, 2008 shall be excluded from the Speedy Trial Act requirements of Title 18, United

States Code, § 3161 pursuant to Title 18, United States Code § 3161(h)(8)(A) and

§3161(h)(8)(B)(iv). The parties agree that the time is excludable in that the ends of justice

served by granting this continuance outweigh the best interests of the public and the

defendant in an earlier trial, specifically based on the fact that defendant Padilla’s counsel

has just finished a two month homicide jury trial. Further, Mr. Padilla has always planned

to be part of the larger group and discovery and motions have been and continue to be

coordinated and this process is not complete. Accordingly, Mr. Padilla is not ready to try

the case at this time. For these reasons, the parties agree that a continuance is necessary to

ensure that the defendant and defense counsel are prepared to make informed decisions

regarding the case, and denial of such a continuance would unreasonably deny defendant

Oscar Campos-Padilla effective case preparation pursuant to 18 U.S.C. §3161(h)(8)(A0 and

§3161(h)(8)(B)(iv).




                                             -2-
                             Stipulation and Order to Continue
 Case 2:07-cr-00248-WBS-DB Document 238 Filed 04/25/08 Page 3 of 4


      Therefore, it is respectfully requested that the current Sentencing Hearing date of

April 28, 2008 at 10:30 a.m. be vacated and the matter be continued to June 30, 2008 at

10:30 a.m.

      THE PARTIES SO STIPULATE.


Dated: April 24, 2008                  UNITED STATES ATTORNEY’S OFFICE




                                                       /s/
                                       JASON HITT, A.U.S.A.




Dated: April 24, 2008                  LAW OFFICES OF PAUL B. MELTZER



                                                        /s/
                                       PAUL B. MELTZER, Attorney for
                                       Defendant, OSCAR CAMPOS-PADILLA




                                           -3-
                           Stipulation and Order to Continue
 Case 2:07-cr-00248-WBS-DB Document 238 Filed 04/25/08 Page 4 of 4



                                         ORDER

       Good cause shown, therefore, IT IS HEREBY ORDERED that the Hearing set for
April 28, 2008 be vacated and the matter be reset for June 30, 2008 at 10:30 a.m.
       In light of these facts, the Court finds that the time between April 28, 2008 and June
30, 2008 shall be excludable from the Speedy Trial Act requirements of Title 18, United
States Code, §3161 pursuant to Title 18, United States Code, §3161(h)(8)(A) and
§3161(h)(8)(B)(iv). The Court finds that the time is excludable in that the ends of justice
served by granting this continuance outweigh the best interests of the public and the
defendant in an earlier date specifically based on the fact that defendant Padilla has decided
to remain part of the larger group and coordinate discovery and motions and this process
has not been completed. For these reasons, the parties agree that a continuance is necessary
to ensure that the defendant and defense counsel are prepared to make informed decisions
regarding the case, and denial of such a continuance would unreasonably deny defendant
Oscar Campos-Padilla effective case preparation pursuant to 18 U.S.C. §3161(h)(8)(A) and
§3161(h)(8)(B)(iv).


       SO ORDERED.



Dated: April 25, 2008




                                             -4-
                             Stipulation and Order to Continue
